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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS

JOSEPH OZMUN,                                     §
     Plaintiff                                    §
                                                  §
V.                                                §   CASE NUMBER 1:16-cv-00940-SS
                                                  §
PORTFOLIO RECOVERY ASSOCIATES,                    §
LLC; RAUSCH, STURM, ISRAEL,                       §
ENERSON & HORNIK, LLC; WESTERN                    §
SURETY COMPANY AND TRAVELERS                      §
CASUALTY AND SURETY COMPANY                       §
OF AMERICA                                        §
      Defendants                                  §

                      MOTION FOR SUMMARY JUDGMENT
              THAT PLAINTIFF TAKE NOTHING AS A MATTER OF LAW

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Defendants hereby jointly move the Court to grant summary judgment pursuant to FED. R.

CIV. P. 56 that Plaintiff take nothing in this case, and in support of such motion would respectfully

show the following:

                                            MOTION

A.     Introduction

       1.      The Court’s order of February 15, 2018 (Doc. 91) held Plaintiff and his attorneys

Michael J. Wood and Celetha C. Chatman in contempt, finding, inter alia, that attorneys Wood

and Chatman had violated Rule 4.02 of the Texas Disciplinary Rules of Professional Conduct.1

The discovery of the facts giving rise to that finding led Mr. Newburger to investigate and discover

similar misconduct in other cases in the Northern District of Illinois, which in turn led counsel for

all of the defendants to discover that the “dispute” letters that form the basis of Plaintiff’s



1
  Defendants would note that Plaintiff’s attorneys have purged themselves of contempt by paying
the sanctions ordered by the Court, but it took them over a month to do so.
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complaints were faxed directly to PRA at a time when Defendant RSIEH was representing PRA

in two pending lawsuits against Mr. Ozmun. Those letters (which carry the false appearance of

having been sent by Mr. Ozmun himself) were sent from a fax machine operated by attorneys

Wood and Chatman in Chicago.2 Thus, Plaintiff’s lawyers engaged in a fabricated, direct

communication with PRA without the knowledge or consent of its attorneys at RSIEH.

       2.      These communications were sent with the purpose of manufacturing FDCPA and

TDCA. Ironically, the “disputed” debts that were the basis of the two state court actions were

ultimately reduced to final summary judgments that Mr. Ozmun did not challenge or appeal. See

Ex. G and H. In fact, at the time the “dispute” letters were sent, Ozmun had failed to respond to

requests for admissions in the state court actions, and the automatically deemed admissions

established his liability on the debts in the amounts for which he had been sued. See Ex. G and H;

Javandoost Declaration. Nevertheless, Wood and Chatman faxed “dispute” letters directly to PRA,

without the consent of its attorneys, asserting that “the amount you are reporting is not accurate.

See Ex. E; Javandoost Declaration; Sidhu Declaration. Ozmun, Wood, and Chatman intentionally

never used the word “dispute” or explained how the reported amounts (which are consistent with

the judgments that were ultimately entered) were inaccurate or subject to a dispute. And, not only

did Wood and Chatman fax the disputes directly to a represented party, they did not even copy

PRA’s attorneys of record in the state court actions.

       3.      Defendants assert that Plaintiff’s attorneys engaged in clear violations of the Rules

of Professional Conduct in order to present meritless disputes for the purpose of manufacturing

FDCPA and TDCA claims. Clearly, Wood and Chatman hoped that by faxing the letters to generic



2
  Defendants have no reason to believe that attorneys Amy Clark and Robert Zimmer, who were
not involved in this case at that time, had any involvement in the Rule 4.2 violations detailed in
this motion.
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PRA fax numbers, the clerks who reviewed incoming correspondence would do so without the

critical eye that the attorneys at RSIEH would have applied to the letters. The PRA suits against

Ozmun involve just two examples of a larger scheme by Wood and Chatman to manufacture

FDCPA suits by writing directly to represented parties. They have gotten away with this so

successfully that in one recent case they had the audacity to admit their conduct in a complaint. In

Gillie v. Experian Information Solutions, Inc., Case No. 1:18-cv-01042 in the Northern District of

Illinois, Wood and Chatman alleged in a complaint that:

               15. On March 9, 2016, LVNV, as an alleged assignee of Credit One Bank,
               filed a small claims lawsuit against Ms. Gillie seeking to collect an amount
               allegedly owed on a credit card account, account number beginning with
               444796212290 (the “Account”). The case was captioned LVNV Funding,
               LLC v. Debra Gillie, Case No. 2016 M1 105507, filed in the Circuit Court
               of Cook County, Illinois, First Municipal District. (“Lawsuit”)

               16. On or about February 8, 2017, Ms. Gillie’s counsel, on her behalf,
               appeared in the Lawsuit and entered a general denial of all claims alleged,
               as Ms. Gillie did not owe the debt.

               17. On or about March 2, 2017, Ms. Gillie, through counsel, sent LVNV a
               letter further disputing the balance and stating that the account tradeline
               was not accurate.

See Exhibit I (emphasis added). See, also,Exhibit M, in which Ms. Chatman admits in open court

that it is her modus operandi to communicate directly with represented parties, and in which she

demonstrates not the slightest regard for the applicable rules of professional conduct. Defendants

assert that when lawyers are willing to boast in judicial admissions and in open court of their

conduct in communicating directly with represented parties, severe action on the art of the courts

is necessary. Furthermore, Mr. Ozmun, who has no actual damages whatsoever, should not be

allowed to profit from his participation in this unethical scheme.

       4.      Apart from these recently discovered facts, since the date of the Court’s previous

summary judgment decision the Sixth Circuit Court of Appeals issued its decision in Hardin v.
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Finkelstein, Kern, Steinberg & Cunningham, P.C., 707 F. App'x 855, 2017 U.S. App. LEXIS

17956 (6th Cir. 2017), holding that “[t]he adjudicative process cannot be construed as

communications from the debt collector to the debtor.” Therefore, PRA’s state court Prayer For

Relief of which Plaintiff complains cannot form the basis of an FDCPA claim.

        5.      The only amounts at issue in this case are statutory damages and attorney’s fees.

Plaintiff’s First Amended Complaint seeks only statutory damages and legal fees pursuant to the

Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA) and the Texas Debt

Collection Act, Tex. Fin. Code § 392.001, et seq. (“TDCA”). See Doc. 53, pp. 11 and 12;

Plaintiff’s Rule 26(a)(1) disclosures (Exhibit D); Ozmun Dep. Pages 143:24 to 145:21. Defendants

assert that they have no liability on the claims asserted. However, the point of this motion is not

to seek a ruling on liability, per se. Instead, Defendants assert that even if the Court were to find

that they did violate the FDCPA or the TDCA, as a matter of law the claims asserted do not merit

an award of any sums of money in this case; therefore, Plaintiff should take nothing.

B.      Relief Sought

        6.      Defendants seek summary judgment that Plaintiff take nothing on his TDCA claims

because, without actual damages he cannot recover statutory damages under the TDCA.

Defendants also seek summary judgment finding that, as a matter of law, even if Plaintiff

establishes liability in this case he is entitled to no actual or statutory damages. In the alternative,

Defendants seek a final summary judgment awarding Plaintiff no more than the $57 in statutory

damages to which he testified in his deposition.

        7.      Defendants would also show that through its attorneys at RSIEH, PRA has obtained

final summary judgments against Plaintiff on two of his debts. Both summary judgments were a

result of deemed admissions. Plaintiff and his attorneys did not ever challenge or seek to modify
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or set aside the deemed admissions, nor did they challenge3 or appeal the judgments. Even if the

Court finds that plaintiff is entitled to statutory damages, those damages should be offset by the

judgments against him, which far exceed his maximum statutory recovery.

C.       Evidence and Statement of Undisputed Facts

         8.       Appendix I to this motion is a Statement of Undisputed Facts setting forth the

portions of the summary judgment evidence that support this motion.

         9.       This motion is supported by:

                  a.       the Deposition of Plaintiff Joseph M. Ozmun that is Exhibit A to the

                           Appendix, and the exhibits thereto (“Ozmun Dep.”);

                  b.       the Declaration of attorney Steven Javandoost that is Exhibit B to the

                           Appendix;

                  c.       the Declaration of Mary Elizabeth Boyle that is Exhibit C to the Appendix;

                  d.       Plaintiff’s Rule 26 disclosures that are Exhibit D to the Appendix;

                  e.       Plaintiff’s Responses to Defendant PRA’s Requests for Admissions that are

                           Exhibit E to the Appendix;

                  f.       the Declaration of PRA’s records custodian that is Exhibit F to the

                           Appendix;

                  g.       certified copies of the docket sheet, return of service, and final summary

                           judgment in Travis County Court at Law Case Number C-1-CV-15-002350

                           that are Exhibit G to the Appendix;




3
 To be clear, the state court docket sheets (Exhibits G and H) show that Plaintiff never even responded to the summary
judgment motions.
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               h.      certified copies of the docket sheet, return of service, and final summary

                       judgment in Travis County Court at Law Case Number C-1-CV-15-002347

                       that are Exhibit H to the Appendix;

               i.      the Gillie Complaint, a true copy of which is Exhibit I to the Appendix;

               j.      Wood Finko Thompson P.C. letterhead, a true copy of which is Exhibit J to

                       the Appendix;

               k.      the Corporation File Detail Report for Wood Finko Thompson P.C., a true

                       copy of which is Exhibit K to the Appendix;

               l.      the Corporation File Detail Report for Community Legal Group, Ltd., a true

                       copy of which is Exhibit L to the Appendix; and

               m.      excerpt from the transcript of a February 14, 2018 hearing in Centeno, et al.

                       v. LVNV Funding, LLC, et al.

Exhibits A through M are incorporated herein by reference.

                                              BRIEF

       10.     The well-established case law interpreting the Texas Debt Collection Act mandates

summary judgment that Plaintiff take nothing on his TDCA claims. The statutory factors that are

to be applied in assessing statutory damages under the Fair Debt Collection Practices Act

demonstrate that, as a matter of law, Plaintiff should take nothing on his FDCPA claims. However,

should the Court disagree, Plaintiff should not recover more than the $57.00 in statutory damages

that he testified would be adequate.

A.     Summary Judgment Standards

       11.     Summary judgment should be granted when the pleadings, discovery, disclosures,

and any affidavits show that there is no genuine dispute as to any material fact and that the moving
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party is entitled to judgment as a matter of law. FED. R. CIV. P. 56(a); Celotex Corp. v. Catrett, 477

U.S. 317, 323-25, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986); Washburn v. Harvey, 504 F.3d 505,

508 (5th Cir. 2007). A dispute regarding a material fact is genuine if the evidence is such that a

reasonable jury could return a verdict in favor of the nonmoving party. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986).

         12.   When ruling on a motion for summary judgment, the Court is required to view all

inferences drawn from the factual record in the light most favorable to the nonmoving party.

Matsushita Elec. Indus. Co. v. Zenith Radio, 475 U.S. 574, 587, 106 S. Ct. 1348, 89 L. Ed. 2d 538

(1986); Washburn, 504 F.3d at 508. Furthermore, a court may not make credibility determinations

or weigh the evidence in deciding a summary judgment motion. Reeves v. Sanderson Plumbing

Prods., Inc., 530 U.S. 133, 150, 120 S. Ct. 2097, 147 L. Ed. 2d 105 (2000); Anderson, 477 U.S. at

254-55.

         13.   Once the movants have made an initial showing that there is no evidence to support

the respondent's case, the respondent must come forward with competent summary judgment

evidence of the existence of a genuine fact issue. Matsushita, 475 U.S. at 586. Mere conclusory

allegations are not competent summary judgment evidence, and thus are insufficient to defeat a

motion for summary judgment. Turner v. Baylor Richardson Med. Ctr., 476 F.3d 337, 343 (5th

Cir. 2007). Unsubstantiated assertions, improbable inferences, and unsupported speculation are

not competent summary judgment evidence. Id. A party opposing summary judgment is required

to identify specific evidence in the record and to articulate the precise manner in which that

evidence supports his claim. Adams v. Travelers Indem. Co. of Conn., 465 F.3d 156, 164 (5th Cir.

2006).
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       14.     FED. R. CIV. P. 56 does not require the court to “sift through the record in search of

evidence” to support any opposition to this motion. Id. “Only disputes over facts that might affect

the outcome of the suit under the governing laws will properly preclude the entry of summary

judgment.” Anderson, 477 U.S. at 248. Furthermore, the Court should not consider disputed fact

issues that are “irrelevant and unnecessary” in ruling on a summary judgment motion. Id. The

inability of a responding plaintiff to make a showing sufficient to establish the existence of an

element essential to his case and on which he bears the burden of proof at trial mandates the

granting of summary judgment. Celotex, 477 U.S. at 322-23. Applying these standards, it is clear

that Movants are entitled to summary judgment that Plaintiff take nothing.

B.     Defendants Are Entitled to Summary Judgment that Plaintiff Take Nothing on His
       Claims Under the TDCA

       15.     Although Plaintiff has accused Defendants of violating the TDCA, he has asserted

no claim for actual damages in his First Amended Complaint (Doc. 53, pp. 11-12), he has disclosed

no actual damages in his Rule 26 disclosures (Ex. _), and he testified to facts negating any claim

for actual damages (Ozmun Dep. Pages 143:24 to 145:21). In cases 664 and 665 (which were

consolidated with this one) Plaintiff has identified no damages. In fact, his interrogatory responses

that are dated within eight days of the close of discovery, and which he did not supplement before

the close of discovery state:

               6.    Please state the factual basis for your contention in Complaint 664
               and Complaint 665 that Defendant’s alleged actions caused you actual
               damages.

               RESPONSE: Objection on the basis that this is a Contention Interrogatory,
               which requires the answering party to commit to a position and to give
               factual specifics supporting its claims. The general policy is to defer
               contention Interrogatories until discovery is near an end. Subject to and
               without waiving the foregoing objection(s), see Plaintiff’s Complaint 664
               and Complaint 665.
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       16.     Thus, Plaintiff sought no actual damages in Case 940, and he has disclosed no

damages in the later-filed cases. The only damages sought under the TDCA are the statutory

damages provided for in Tex. Fin. Code § 392.403(e), which states:

       (e) A person who successfully maintains an action under this section for violation
       of Section 392.101, 392.202, or 392.301(a)(3) is entitled to not less than $100 for
       each violation of this chapter.

       17.     Plaintiff is entitled to statutory damages under this section only if he “successfully

maintains an action” under the specified sub-sections of the Act. However, Plaintiff cannot

successfully maintain an action, as he did not seek or disclose any actual damages. Even if he

were to prove a violation of the TDCA, he still could not recover statutory damages under Section

392.403(e). In Elston v. Resolution Servs., 950 S.W.2d 180 (Tex. App.--Austin 1997, no writ) the

court addressed this specific issue. Elston was able to prove a TDCA violation, but he could not

prove that he had suffered any actual damages as a result of that violation. The court of appeals

held that Elston was not entitled to statutory damages because he did not meet the prevailing party

requirements of the Act. Id.

       18.     Elston is directly on-point and bars any recovery on Ozmun’s TDCA claims. “[T]he

plain reading of subsection (e) imposes as a prerequisite to the statutory damages the successful

maintenance of a suit. Subsection (e) limits those eligible for $ 100 to those who successfully

maintain an action under this section.” Marauder Corp. v. Beall, 301 S.W.3d 817, 822-23 (Tex.

App.—Dallas 2009, no pet.). When a plaintiff cannot show any actual damages. the defendants

should be granted summary judgment on that plaintiff’s TDCPA claim. King v. Deutsche Bank

Nat'l Tr. Co., No. A-14-CV-740-LY-ML, 2016 U.S. Dist. LEXIS 79971, at *42 (W.D. Tex. Feb.

23, 2016). See also, Allen v. Dovenmuehle Mortg., Inc., No. 3:13-CV-4710-L, 2015 U.S. Dist.

LEXIS 83795 (N.D. Tex. June 29, 2015) (dismissing the plaintiff’s TDCA claim with prejudice
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due to a lack of actual damages).

       19.     Additionally, this Court has recently confirmed Defendants’ position on multiple

occasions. For example, in the Court’s Order regarding the first set of dispositive motions in this

action, this Court found that “because Plaintiff fails to show he suffered any actual damages and

is not seeking injunctive relief, he has no standing to assert claims under the TDCA. See Doc. 79,

p. 12. Furthermore, this Court held the same in Tejero v. Portfolio Recovery Assocs., LLC, No. A-

16-CA-767-SS, 2017 U.S. Dist. LEXIS 118316, at *11-12 (W.D. Tex. 2017) (“Because Plaintiff

fails to show he suffered any actual damages, he has no standing to assert a claim under the

TDCA.”), and Palomo v. Portfolio Recovery Assocs., LLC, No A-16-CA-628-SS (W.D. Tex.

2017). Additionally, Magistrate Judge Andrew W. Austin of the Western District of Texas also

held the same in Cousins v. Portfolio Recovery Assocs., LLC, No. 1:16-CV-85, 2017 WL 5077900

(W.D. Tex. 2017). Therefore, because Plaintiff has no evidence of actual damages, Defendants

respectfully request this Court to find the same in this action.

C.     There is an absolute upper limit of $1,000 in statutory damages on Plaintiff’s Claims
       Under the FDCPA, But No Lower Limit

       20.     In an individual action under the FDCPA a prevailing plaintiff may recover

statutory damages “as the court may allow, but not exceeding $ 1,000.” The statute creates an

absolute limit of $1,000, no matter how many violations are alleged. Harper v. Better Bus. Servs.,

Inc., 961 F.2d 1561 (11th Cir. 1992); Wright v. Finance Serv., 22 F.3d 647 (6th Cir. 1994). The

$1,000 limit applies even to multi-defendant cases. See Warren v. Sessoms & Rogers, P.A., 676

F.3d 365 (4th Cir. 2012); Goodmann v. People's Bank, 209 Fed. Appx. 111, 114, 2006 U.S. App.

LEXIS 31555 (3d Cir. 2006). See, also, Weiss v. Fein, Such, Kahn & Shepard, P.C., 2002 WL

449653, 2002 U.S. Dist. LEXIS 4783, (SDNY Mar. 22, 2002); Dowling v. Kucker Kraus & Bruh,

LLP, 2005 U.S. Dist. LEXIS 11000 (SDNY June 6, 2005); Evanauskas v. Strumpf, 2001 U.S. Dist.
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LEXIS 14326, No. 00 Civ. 1106 (JCH), 2001 WL 777477, at *6 n.6 (D. Conn. June 27, 2001).

       21.     $1,000 represents the upper limit of the statutory damages that a prevailing FDCPA

Plaintiff might recover, but it does not represent the lower limit. See, e.g., Carroll v. Wolpoff &

Abramson, 53 F.3d 626 (4th Cir. 1995) (court awarded $50.00 for a single violation of the

FDCPA); Thornton v. Wolpoff & Abramson, L.L.P., 312 F. App'x 161 (11th Cir. 2008) (jury

awarded a prevailing plaintiff $1.00 in statutory damages). In Jerman v. Carlisle, 2011 U.S. Dist.

LEXIS 40771 (N.D. Ohio Apr. 13, 2011), after remand by the Supreme Court, the district court

granted the plaintiff’s motion for summary judgment, but it also granted the defendant’s motion

for summary judgment that the plaintiff recover zero in statutory damages. That is the relief that

Defendants seek in this case.

D.     Factors to Be Considered and Facts Applicable to Those Factors

       22.     The FDCPA directs that:

               In determining the amount of liability in any action under subsection (a),
               the court shall consider, among other relevant factors—

                     (1) in any individual action under subsection (a)(2)(A) [statutory
                     damages], [1] the frequency and persistence of noncompliance by
                     the debt collector, [2] the nature of such noncompliance, and [3] the
                     extent to which such noncompliance was intentional.
15 U.S.C. § 1692k(b). Application of each of these factors support an award of $0.00 in statutory

damages, even if the Court finds that Defendants violated the FDCPA.

       I.      Frequency and Persistence

       23.     Plaintiff’s claim against RSIEH is predicated solely upon the default judgment

motion that RSIEH fled in one of the two underlying state court cases. The language in that motion

of which Plaintiff complains stated: “[PRA] respectfully requests that this Court grant Plaintiff's

Motion for Default Judgment and award Plaintiff the relief requested in Plaintiff's Petition.” See

Complaint, Docket Entry 1, at ¶ 29. Plaintiff asserts that this prayer for relief violated multiple
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sections of the FDCPA because he had made a payment after he was served, rendering the balance

that was due $57 less than what was requested in the Original Petition. Id.

        24.     Although the default motion prayed for the relief requested in Plaintiffs Petition, it

asked the County Court at Law to grant that relief “by signing and entering the attached proposed

Default Judgment.” (Ex. _ to Javandoost Decl.; Ex. E to Plaintiff’s First Amended Complaint,

Doc. 53-1, p. 24. The default judgment that RSIEH attempted to submit with the motion properly

credited the $57 payment. Javandoost Decl; Ex. _ to that declaration.

        25.     As to RSIEH, Plaintiff asserts a single alleged FDCPA violation. The frequency of

the alleged violation was, at most, once. Consequently, there was no persistence as Plaintiff makes

no assertion that the alleged failure to credit the $57 was ever repeated or that it occurred in any

other context. And, at the time of the default judgment motion at issue, Ozmun’s deemed

admissions admitted liability for the amount requested in the petition. See Exhibit G; Javandoost

Declaration.

        26.     As for PRA, Plaintiff asserts a single violation on each of his three accounts. More

importantly, Plaintiff does not allege that the violation on any of the accounts was repeated. And,

in addition to the fact that Plaintiff only alleges a single violation for each account, it was Plaintiff’s

attorneys, not PRA, who caused the alleged violations. The facts show that Plaintiff’s attorneys

chose to create the circumstances that led to the alleged, single violation per account. Wood and

Chatman faxed Ozmun’s dispute letters directly to PRA, rather than to PRA’s counsel, RSIEH.

Wood and Chatman’s action deprived PRA of the benefit of the legal counsel it had retained. Wood

and Chatman intentionally crafted the letters4 so as not to use the word “dispute,” clearly hoping



4
  Astoundingly, when asked in PRA’s Requests for Admissions to admit that he did not draft the
letters pertaining to Cases 664 and 665, Plaintiff answered: “Plaintiff lacks sufficient information
or knowledge to admit or deny the truth of this allegation.” However, See RFA Responses 1 and
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to create the very claims that Ozmun asserts.

       27.     Furthermore, Plaintiff does not assert that PRA persisted in its alleged violations.

Although PRA may not have determined that Plaintiff’s letters were dispute letters given their

vague and hidden language, Plaintiff does not allege that PRA continued to report his debts as

undisputed once it became clear to PRA that he was actually asserting a dispute. Ironically, the

only action taken with frequency and persistence is the creation of the alleged dispute letters

despite there being “no legitimate reason why Plaintiff’s experienced counsel should have

repeatedly failed to draft a letter clearly communicating the debt was disputed.” Tejero v. Portfolio

Recovery Assocs., LLC, No. A-16-CA-767-SS, 2017 U.S. Dist. LEXIS 118316 *4 (W.D. Tex.

2017). Therefore, the frequency and persistence factor does not warrant the imposition of statutory

damages against RSIEH or PRA.

       II.     Nature of the Alleged Noncompliance

       28.     The essence of the claim against RSIEH is essentially that it was imprecise in the

prayer for relief in its motion for default judgment. However:

               a. there is no evidence to rebut RSIEH’s proof that the motion was accompanied

                   by a proposed judgment which credited Ozmun’s $57 payment;

               b. Ozmun has never produced a copy of the default motion that was allegedly

                   served on him; and

               c. the motion was not granted.

       29.     Thus, the FDCPA claim is based upon a motion that did not actually seek to obtain

a judgment in the wrong amount, the motion was never granted, there is no evidence that the




5. Plaintiff’s response to RFA 7 admits that the fax number used to send all three dispute letters to
PRA was a number that is under the care and control of his attorneys.
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motion was even served on Ozmun, and the only judgment that was ever entered against Ozmun

was based upon the same deemed admissions that existed on the date of the default motion, in the

amount that Ozmun admits owing, and the summary judgment was never appealed. The alleged

violation is technical in nature, and it caused Ozmun absolutely no harm. Indeed, Ozmun has

conceded that the default judgment submitted by RSIEH reflected his $57 payment.

                               98
              23     Q. All right. So what's wrong with the
              24 defendants having asked a state court to grant a
              25 judgment that included the $57 credit?
                               99
               1     A. I don't know.
               2     Q. That request certainly wouldn't have
               3 been false, would it, since it credited the $57?
               4     A. No.
               5     Q. No, it would not have been?
               6     A. It would not have been false.
               7     Q. It wouldn't have been misleading, would
               8 it?
               9     A. No.
              10     Q. Wouldn't have been deceptive?
              11     A. No, sir.
              12     Q. Nothing unfair about asking a court to
              13 grant a judgment against you in the state court
              14 case if the $57 was credited, right?
              15     A. Yes.
              16     Q. Yes, there is something unfair?
              17     A. No. Yes, that's true.
              18     Q. Okay. Paragraph 31, "The balance on the
              19 alleged debt as of November 5th, 2015 when Rausch
              20 filed the motion, was $2,008," right?
              21     A. Yes.
              22     Q. And that's what they asked for, right?
              23     A. Yes, sir.

              Ozmun Dep. Pages 98:23 to 99:23)

       30.    Based upon: (a) the default judgment that RSIEH attempted to submit to the Travis

County Court at Law; and (b) Plaintiff’s own deposition testimony, RSIEH made no
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misrepresentations to the state court or to Plaintiff, and as a matter of law it is entitled to summary

judgment that Plaintiff take nothing.

       31.     Even if the motion for default judgment were considered without the accompanying

judgment, RSIEH would still be entitled to summary judgment. As noted above in Hardin v.

Finklestein, supra, the Sixth Circuit held that a default judgment was not an actionable

communication. That is consistent with Seventh Circuit case law holding that representations to

courts are not actionable under the FDCPA. See O'Rourke v. Palisades Acquisition XVI, LLC, 635

F.3d 938, 944 (7th Cir. 2011) (internal citations omitted).

       32.     Moreover, the prayer for relief at issue referred not only to the Original Petition but

also to the proposed default judgment. This court could certainly find that if there was a

misrepresentation at all, it was not material. Appellate courts have consistently held that that an

allegedly false statement is not actionable under the FDCPA if it is not material. See, e.g., Gabriele

v. Am. Home Mortg. Servicing, 503 Fed. Appx. 89, 94, 2012 U.S. App. LEXIS 24478, *9, 2012

WL 5908601 (2d Cir. 2012); Jensen v. Pressler & Pressler, 791 F.3d 413 (3d Cir. 2015); Warren

v. Sessoms & Rogers, P.A., 676 F.3d 365, 374 (4th Cir. 2012); Miller v. Javitch, Block & Rathbone,

561 F.3d 588, 596 (6th Cir. 2009); Hahn v. Triumph P'ships LLC, 557 F.3d 755, 758 (7th Cir.

2009); Hemmingsen v. Messerli & Kramer, P.A., 674 F.3d 814 (8th Cir. 2012); Donohue v. Quick

Collect, Inc., 592 F.3d 1027, 1034 (9th Cir. 2010); Hill v. Accounts Receivable Servs., LLC, No.

0:16-4356 (8th Cir. April 19, 2018).

       33.     Plaintiff does not allege that the alleged defect in the prayer to the state court

complaint was material. The nature of the alleged noncompliance was an immaterial ambiguity in

the prayer for relief in a default judgment that was not granted and that caused Ozmun no harm.
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       34.     As for PRA, the nature of the alleged violation is the failure to disclose that debts,

two of which have been reduced to judgment, were disputed by Ozmun. However, the language

allegedly disputing the letter was intentionally obscured in the letters, and the dispute was clearly

manufactured, given that the letters were faxed directly to PRA instead of to its attorneys. And,

as mentioned, PRA immediately marked the debts as disputed once it realized that Plaintiff’s

(hidden) intent. Setting aside the communication with a represented party, if Plaintiff’s attorneys

had sent over a letter which clearly stated “I dispute this debt,” this case would have never been

filed. As such, the nature of PRA’s alleged noncompliance is one of inculpability. Therefore, the

claims at issue do not warrant statutory damages against RSIEH or PRA.

       III.    The Extent to Which the Alleged Noncompliance Was Intentional

       35.     With regard to RSIEH it is clear that there was no intent to misrepresent the debt.

RSIEH attempted to submit a judgment which credited the $57 payment. The fact that the

judgment that was submitted was in the correct amount shows that there was no intent to violate.

       36.     As for PRA, the absence of intent is found in the fact that Ozmun and his counsel

intentionally deprived PRA of the benefit of its counsel by doing an end-run around RSIEH. There

is no allegation or evidence that PRA failed to update the trade lines as soon as it became aware

of the fact that Ozmun was attempting to dispute his debts. Therefore, the claims at issue do not

warrant statutory damages against RSIEH or PRA.

E.     Plaintiff Should be Denied Statutory Damages

       37.     In Jerman, supra, the district court granted summary judgment in favor of the

plaintiff on the issue of liability. However, on the issue of damages the Court granted summary

judgment for the defendants, finding as a matter of law the plaintiff was not entitled to any statutory

damages. Upon consideration of the factors set forth above the Court should find that as a matter
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of law Plaintiff is not entitled to and statutory damages; therefore, since he has no actual damages,

he should take nothing in this case.

F.     Alternatively, Plaintiff should be summarily Awarded $57

       38.     Defendants contend that the correct amount of statutory damages in this case is

zero. However, should the Court disagree then Defendants request that the Court grant summary

judgment that Plaintiff recover the $57 in statutory damages that he testified was sufficient:

                         OZMUN, JOSEPH, (Pages 136:9 to 137:13)
                                          136
                          9    Q. The FDCPA sets a cap on statutory
                         10 damages of $1,000. Are you seeking more than?
                         11 $1,000 in statutory damages?
                         12     A. I just don't know.
                         13     Q. Well, how much do you want? Forget what
                         14 your lawyers are asking for you, what do you think
                         15 you ought to get?
                         16     A. I honestly can't answer that.
                         17     Q. You think a dollar is enough?
                         18     A. A dollar? Maybe more.
                         19     Q. How about 57? Would that be good?
                         20     A. At least.
                         21     Q. Do you think that would be fair?
                         22     A. $57?
                         23     Q. Yes, sir.
                         24     A. Probably not.
                         25     Q. Well, your complaint is about $57,
                                          137
                          1 right?
                          2    A. And my reputation.
                          3    Q. What reputation is that?
                          4    A. That was harmed with adverse credit
                          5 bureau reporting.
                          6    Q. Other than credit reporting, is there
                          7 any other harm to your reputation?
                          8    A. I suppose that's the major part of it.
                          9    Q. Okay. Rausch didn't do any credit
                         10 reporting, so do you want more than $57 from
                         11 Rausch?
                         12     A. That's probably the extent of their
                         13 liability, I would think.
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       WHEREFORE, PREMISES CONSIDERED, Defendants pray that the Court grant

summary judgment that Plaintiff take nothing against them in this case. In the alternative,

Defendants pray that the Court end the case by summarily awarding Plaintiff $57 as his total award

in this case. Should the Court grant either such order Defendants further pray that the Court order

that Defendants may submit an application for an award of fees and expenses in this case.

Defendants further pray for all such other and further relief, at law or in equity, as to which they

may be justly entitled.

                                                  Respectfully submitted,

 /s/Manuel H. Newburger                           /s/ Robbie Malone
 Manuel H. Newburger                              Robbie Malone
 TBN 14946500                                     Email: rmalone@mamlaw.com
 Barron & Newburger, P.C.                         Eugene Xerxes Martin, IV
 7320 N. MoPac Expy., Suite 400                   Email: xmartin@mamlaw.com
 Austin, Texas 78731                              Cooper M. Walker
 (512) 476-9103                                   Email: cwalker@mamlaw.com
 Fax: (512) 279-0310
 mnewburger@bn-lawyers.com                        Malone Akerly Martin PLLC
                                                  NCX Building, Suite 1850
 ATTORNEYS FOR DEFENDANTS                         8750 North Central Expressway
 RAUSCH, STURM, ISRAEL,                           Dallas, Texas 75231
 ENERSON & HORNIK, LLC and                        TEL: (214) 346-2630
 TRAVELERS CASUALTY AND                           FAX: (214) 346-2631
 SURETY COMPANY OF AMERICA
                                                  ATTORNEYS FOR DEFENDANTS
                                                  PORTFOLIO RECOVERY ASSOCIATES,
                                                  LLC and WESTERN SURETY COMPANY
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                               CERTIFICATE OF SERVICE

A true copy of the foregoing Motion was served on the persons on the service list below through

via the Court’s ECF system on the 20th day of April, 2018.

                                              /s/     Manuel H. Newburger
                                                      Manuel H. Newburger


SERVICE LIST

 Celetha Chatman                                    Amy E. Clark
 and                                                Amy Clark Law
 Michael Jacob Wood                                 11801 Domain Blvd, 3rd Floor
 Community Lawyers Group, Ltd                       Austin, Texas 78758
 73 West Monroe                                     Phone:(512) 850-5290
 Chicago, IL 60603                                  Fax: (626) 737-6030
 Attorneys for Joseph Ozmun                         amy@amyclarklaw.com
                                                    Attorney for Joseph Ozmun
 Robert Alan Zimmer, Jr.
 Zimmer & Associates                                Robbie Malone
 707 West 10th Street                               and
 Austin, TX 78701                                   Eugene Xerxes Martin, IV
 Attorney for Joseph Ozmun                          and
                                                    Cooper M. Walker
 Tyler Hickle                                       Malone Akerly Martin, PLLC
 Law Office Tyler Hickle, PLLC                      NCX Building
 4005 C Banister Lane, Suite 120C                   8750 N. Central Expy., Suite 1850
 Austin, TX 78704                                   Dallas, TX 75231
 Attorney for Joseph Ozmun                          Attorneys for Portfolio Recovery
                                                    Associates, LLC
                                                    and
                                                    Western Surety Company
